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 3
     Sacramento, California 95814
 4   Telephone: (916) 422-4022
 5
 6                       IN THE UNITED STATES DISTRICT COURT
 7                     FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
                                                )
 9   UNITED STATES OF AMERICA,                  ) Case No.: 2:15-cr-00177-GEB
10                                              )
                  Plaintiff,                    ) DEFENDANT’S STIPULATION AND
11                                              ) [PROPOSED] ORDER
           vs.                                  )
12                                              )
     JASON MATECKI, et al.,                     )
13                                              )
14                Defendants.                   )
                                                )
15
16         IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the
17   Judgment and Sentencing scheduled for July 29, 2016, at 9:00 a.m. is continued to
18   August 26, 2016, at 9:00 a.m. in the same courtroom. Defendant needs additional time
19   to prepare for sentencing. Josh Sigal, Assistant United States Attorney, and Thomas A.
20   Johnson, Defendant’s attorney, agree to this continuance.
21
22   IT IS SO STIPULATED.
23
24   DATED: June 27, 2016                            By:    /s/ Thomas A. Johnson
                                                            THOMAS A. JOHNSON
25                                                          Attorney for Jason Matecki

26   DATED: June 27, 2016                                   PHILLIP A. TALBERT
                                                            Acting United States Attorney
27
                                                     By:     /s/ Thomas A. Johnson for
28                                                          JOSHUA SIGAL
                                                            Assistant United States Attorney

                                                                                               1
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 1   IT IS SO ORDERED.
 2
     Dated: July 5, 2016
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                            IN THE UNITED STATES DISTRICT COURT
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                           FOR THE EASTERN DISTRICT OF CALIFORNIA
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               Case 2:15-cr-00177-TLN Document 63 Filed 07/06/16 Page 3 of 3


                                                    )
 1   UNITED STATES OF AMERICA,                      )   Case No.: 2:15-cr-00177-GEB
 2                                                  )
                    Plaintiff,                      )   MODIFICATION OF SCHEDULE FOR
 3                                                  )   PRE-SENTENCE REPORT AND FOR
            vs.                                     )   FILING OF OBJECTIONS TO THE PRE-
 4                                                      SENTENCE REPORT
                                                    )
     JASON MATECKI, et al.,                         )
 5                                                  )
 6                  Defendants.                     )
                                                    )
 7
 8   Judgment and Sentencing date:                              August 26, 2016
 9
10   Reply or Statement                                         August 19, 2016
11   Motion for Correction of the Pre-Sentence
12   Report shall be filed with the court and                   August 12, 2016
     served on the Probation Officer and opposing
13   counsel no later than:
14   The Pre-Sentence Report shall be filed with
15   the court and disclosed to counsel no later                July 29, 2016
     than:
16
     Counsel’s written objections to the Pre-
17
     Sentence Report shall be delivered to the                  July 15, 2016
18   Probation Officer and opposing counsel
     no later than:
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